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Attorney for Plaintiff
LEISA WHITTUM

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                            :
 LEISA WHITTUM,                             : Civil Action No.: ______
                                            :
                     Plaintiff,             :
       v.                                   :
                                            :
 SNAP RTO LLC,                              : COMPLAINT
                                            :
                     Defendant.             :
                                            :


      For this Complaint, the Plaintiff, LEISA WHITTUM, by undersigned

counsel, states as follows:

                                  JURISDICTION

      1.     This action arises out of Defendant repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 e t se q

harassment of Plaintiff by the Defendant and its agents in their illegal efforts to

collect a consumer debt and jurisdiction is therefore proper in this Court pursuant
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to 28 U.S.C. § 1331.

      2.         Further, Defendant negligently, knowingly, and/or willfully placed



Consumer Protection Act, 47 U.S.C. § 227, e t se q.                  thereby invading



                           own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by                attorneys.

      3.         Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

                                                         and state law claims. M im sv
                                                                                     .

A rrow F in.Se rv
                ., L L C , 132 S. Ct. 740 (2012).

      4.         This action is also brought under Nevada Revised Statutes Chapter

598.0918                                                                 e t se q

           for               deceptive trade practices as further described herein.

      5.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                        PARTIES

      6.         The Plaintiff, LEISA WHITTUM                      Ms. Whittum ), is
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is defined by 15 U.S.C. § 1692a(3).

       7.

defined by 47 U.S.C. § 153 (39).

       8.    Defendant SNAP RTO LLC         SNAP                    ), is doing

business in the State of Nevada as a business entity and at all times acted by and

through one or more of its debt collectors or other agents (the Collectors .

       9.    Defendant is and at all times mentioned herein was, a corporation and



              ALLEGATIONS APPLICABLE TO ALL COUNTS

                                      The Debt

       10.

SNAP RTO LLC                       on May 27, 2016.

       11.   The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the



       12.   The Debt was purchased, assigned or transferred to SNAP for

collection, or SNAP was employed by the Creditor to collect the Debt.

       13.   The Defendant attempted to collect the Debt and, as such, engaged in



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             SNAP RTO LLC Engages in Illegal Collection Tactics

                                      FACTS

      14.    Struggling to meet her financial obligations and due to work hours

having been cut without notice, the Plaintiff defaulted on her obligation to SNAP

RTO LLC on or about June 24, 2016 when the Plaintiff missed her scheduled

payment and defaulted.

      15.    SNAP attempted to collect the Debt and, as a debt collector, engaged

                                                          , to enforce and/or collect

the Debt.

      16.    In late June 2016 SNAP began calli                     s cellular phone

and sending her text messages, in an attempt to collect the debt.

      17.    SNAP called the Plaintiff at least 29 times between June 28, 2016 and

July 15, 2016, sometimes calling multiple times a day.

      18.    The Plaintiff instructed SNAP to stop calling her cell phone; she told

the agents for SNAP on multiple occasions to stop calling her cell, starting on June

28, 2016.

      19.                                                                 (if any ever

existed in the first place), SNAP continued to call Plaintiff attempting to collect

the debt. Indeed, SNAP acted as though the cease and desist requests had not

happened                                            .
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       20.    On or about July 1, 2016, Plaintiff retained the services of an attorney

to assist her with managing her obligations, like the debt owed to SNAP, and to

assist her in ending the harassment she was enduring as a result of SNAP

collection practices.

       21.    Within twenty-four (24) hours after retaining counsel, Plaintiff once

again instructed SNAP to stop calling her and told SNAP that she was represented

by an attorney.

       22.    Notwithstanding SNAP

SNAP continued communications with the Plaintiff and continued calling her, in

violation of her requests, in its attempt to collect the Debt.

       23.    On several occasions, SNAP

times on the same day to try to collect the debt by harassing and annoying the

Plaintiff.

       24.                                      SNAP to cease calling her and direct

communications to her attorney were to no avail; the abusive and annoying calls

continued.

       25.    As an example, on June 28, 2016, SNAP texted Plaintiff on at least

four (4) occasions within the span of a minute and also called three (3) times that

day. On July 1, 2016 SNAP called Plaintiff at least three (3) times despite having

been previously told to stop calling her.
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      26.    This lawsuit results.

                         Plaintiff Suffered Actual Damages

      27.    The Plaintiff has suffered and continues to suffer actual damages as a

result of SNAP                       ; the repeated harassing conduct has taken an

emotional toll on the Plaintiff.

      28.

the Plaintiff suffered and continues to suffer from anger, anxiety, emotional

distress, frustration, rage, headaches, an upset stomach, heart palpitations, and has



calls. Plaintiff has also lost the use of personal and family time while enduring

these frustrations, as well as lost time and minutes from cell phone use, for which

the Plaintiff is charged a fee.

                           Respondeat Superior Liability

      29.    The acts and omissions of SNAP, and the other debt collectors

employed as agents by SNAP who communicated with Plaintiff as more further

described herein, were committed within the time and space limits of their agency

relationship with their principal, Defendant SNAP.

      30.    The acts and omissions by SNAP and these other debt collectors were

incidental to, or of the same general nature as, the responsibilities these agents were

authorized to perform by SNAP in collecting consumer debts.
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      31.    By committing these acts and omissions against Plaintiff, SNAP and

these other debt collectors were motivated to benefit their principal, Defendant

SNAP.

      32.    SNAP is therefore liable to Plaintiff through the Doctrine of

Respondeat Superior for the intentional and negligent acts, errors, and omissions

done in violation of state and federal law by its collection employees, including but

not limited to violations of the FDCPA and Nevada tort law, in their attempts to

collect a debt from Plaintiff.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      33.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      34.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      35.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system



             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.

      36.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior
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express consent by the person being called, unless the call is for emergency

purposes.

        37.     According to findings by the Federal Communications Commission



calls are a greater nuisance and invasion of privacy than live solicitation calls. The

FCC also recognized that wireless customers are charged for incoming calls.1

        38.     On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf
                                              2



        39.     On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC3



                                                            Id . at ¶ 30.




1
 Ru le sand Re gu lationsIm ple m e ntingthe Te le phone C onsu m e rP rote c tion A c t of1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the M atte rofRu le sand Re gu lationsIm ple m e ntingthe Te le phone C onsu m e rP rote c tion A c t
of1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
   See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the M atte rofRu le sand Re gu lationsIm ple m e ntingthe Te le phone C onsu m e r
P rote c tion A c t of1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
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      40.      Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id . at ¶ 47.

      41.      Nothing in the language of the TCPA or its legislative history



right to revoke consent. Id . at ¶ 58.

      42.      Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id . at ¶ 61.

      43.      Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id . at ¶ 64.

               ALLEGATIONS APPLICABLE TO ALL COUNTS
      44.      Within the four years prior to filing the instant complaint, the Plaintiff

received numerous calls from the Defendant from the following phone numbers: 775-

553-6640 and blocked numbers sending text messages.

      45.      Upon information and belief, Defendant employs an automatic

telephone dialing system ATDS which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

      46.      In the calls that Plaintiff did answer, there would be a short pause

lasting about two to three seconds between the time the calls were answered and the

time that a live agent introduced themselves as a representative from Defendant.
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       47.    Upon information and belief, based on the pause and lack of prompt

human response during the phone calls in which Plaintiff answered, Defendant used a

predictive dialing system to place calls to Plaintiff.

       48.

computer software is attached, also assists [caller] in predicting when an [agent] will

be available to take calls. The hardware, when paired with certain software, has the

capacity to store or produce numbers and dial those numbers at random, in sequential

order, or from a database of numb        M e ye rv
                                                 .PortfolioRe c ov
                                                                 e ry Assoc iate s, L L C ,

707 F.3d 1036, 1043 (9th Cir. 2012).

       49.    The FCC has determined that predictive dialing systems are a form of

an automatic telephone dialing system. Id .

       50.    Upon information and belief, the predictive dialing system employed by

Defendant transfers the call to a live agent once a human voice is detected, thus

resulting in a pause after the called party speaks into the phone.

       51.    Defendant or its agent/s contacted

telephone number ending in 0708 via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).

       52.    On or about June 28, 2016, Plaintiff instructed SNAP or its agent(s) not

                                       again thereby revoking consent, to be contacted

by Defendant via an ATDS.
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      53.    On or about July 1, 2016, in addition to advising Defendant to send all

future communications through her counsel, Plaintiff once again (second time)

instructed SNAP                                                   ne ever again

thereby again revoking consent to be contacted by Defendant via an ATDS.

      54.

without consent using an ATDS in violation of the TCPA.

      55.                 ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

      56.    The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

      57.



      58.

the burden is on Defendant to demonstrate that it had prior express consent to call



      59.    The Plaintiff suffered actual harm and loss, since the unwanted calls



phone is a tangible harm. While small, this cost is a real one, and the cumulative
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effect can be consequential, just as is true for exposure to X-rays resulting from the



      60.    Plaintiff also suffered from an invasion of a legally protected interest by




consumers from this precise behavior.

      61.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right toPriv
                                  ac y, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      62.    Plaintiff was also personally affected, since the Plaintiff felt that the



                                                     .

      63.

violations caused Plaintiff to suffer an invasion of privacy.

                                       COUNT I

                              Violations of the FDCPA
                              (15 U.S.C. § 1692 e t se q.)

      64.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      65.    The Defendant s conduct violated 15 U.S.C. § 1692c(a)(2) in that
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Defendant contacted the Plaintiff after it knew Plaintiff was represented by an

attorney.

      66.     The Defendant s conduct violated 15 U.S.C. § 1692d in that

Defendant engaged in behavior the natural consequence of which was to harass,

oppress, or abuse the Plaintiff in connection with the collection of a debt.

      67.     The Defendant s conduct violated 15 U.S.C. § 1692d(5) in that

Defendant

telephone conversations repeatedly or continuously with the intent to annoy, abuse

or harass the Plaintiff in connection with the collection of a debt.

      68.     The foregoing acts and omissions of the Defendant constitute

numerous and multiple violations of the FDCPA, including every one of the above-

cited provisions.

      69.     The Plaintiff is entitled to damages as a result of Defendant s

violations.

      70.     The Plaintiff has been required to retain the undersigned as counsel to

protect her legal rights to prosecute this cause of action, and is therefore entitled to

an award or reasonable attorneys
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                                     COUNT II

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                               (47.S.C. § 227, e t se q.)
      71.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      72.    Defendant negligently placed multiple automated calls to a cellular

number

      73.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      74.                                negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      75.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                     COUNT III

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                             (47.S.C. § 227, e t se q.)
      76.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      77.    Defendant knowingly and/or willfully placed multiple automated calls

to a cellular number
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      78.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      79.

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      80.    Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.

                                     COUNT IV


                          Deceptive Trade Practices Act
                                 (NRS 598.0918)

      81.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      82.                                                                                in

this case money. Solic itation,                           (2d Pocket Ed. 2001).

      83.    Here, the Defendant solicited the Plaintiff to seek or obtain money

from the Plaintiff.

      84.    On March 13, 2001, Assembly Bill 337 (AB 337) was introduced to



statutes codified at NRS 598 et seq.
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        85.   As expressed by Marilyn Skibinski, Regulatory Analyst, Bureau of



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and L abor, 71st Session, April 4, 2001, page 1082, which can be viewed at

http://www.leg.state.nv.us/Division/Research/Library/LegHistory/LHs/2001/AB33

7,2001.pdf (the

        86.   Further, AB 337 was specifically intended to apply to companies (like




337 i                    Id . at page 4093.

        87.   In specific, AB 337 made it a deceptive trade practice to, during a

solicitation by telephone, to repeatedly or continuously conduct the solicitation or

presentation in a manner that is considered by a reasonable person to be annoying,

abusive or harassing.

        88.                                                           residential cell

phone even after the Plaintiff demanded Defendant cease calls to the Plaintiff.

Moreover, she advised SNAP the calls were annoying and demanded such conduct

cease, but SNAP persisted. Such conduct is unquestionably harassing and

annoying when a defendant is aware (like SNAP was) that its conduct was

aggravating yet persisted in that same aggravating and annoying conduct.
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      89.      As a direct consequence of

practices and conduct, the Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart

palpitations, and has otherwise been totally anno

illegal phone calls. Plaintiff has also lost the use of personal and family time while

enduring these frustrations, as well as lost time and minutes from cell phone use,

for which the Plaintiff is charged a fee. Defendant therefore violated NRS

598.0918.

      90.

41.600 and the Plaintiff is entitled to relief under NRS 41.600.

                                PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant awarding the Plaintiff:

            1. Injunctive relief prohibiting such violations of the TCPA by Defendant

               in the future;

            2. Statutory damages of $500.00 for each and every call in violation of the

               TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

            3. Treble damages of up to $1,500.00 for each and every call in violation

               of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

            4. Actual damages including, but not limited to, the emotional distress
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              the Plaintiff has suffered (and continues to suffer) as a result of the

              intentional, reckless, and/or negligent FDCPA violations pursuant to

              15 U.S.C. § 1692k(a)(1);

         5. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

              §1692k(a)(2)(A);

         6. Actual damages including, but not limited to, the emotional distress

              the Plaintiff has suffered (and continues to suffer) as a result of the

              intentional, reckless, and/or negligent violations of NRS 598.0918 as

              permitted under NRS 41.600;

         7. Punitive damages;

         8.

         9. Such other relief as the Court deems just and proper.

               TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: February 1, 2017
                                                Respectfully submitted,

                                                By: /s/ David H. Krieger, Esq.
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